  Case 15-01128-lmj11             Doc 262 Filed 02/17/16 Entered 02/17/16 09:35:11                    Desc
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                             IN THE UNITED STATES BANKRUPTCY COURT FOR
                                    THE SOUTHERN DISTRICT OF IOWA


In the Matter of:

Newton Manufacturing Company,                                              Case No. 15-01128-lmj11

                    Debtor and Debtor in Possession


                                     ORDER OF CONFIRMATION RE:
                Substituted First Amended Joint Plan of Liquidation (Docket Number 261)
                               (date entered on docket: February 17, 2016)

        The Court hereby finds that:

         (1) As directed at the February 11, 2016 hearing on the First Amended Joint Plan of Liquidation,
dated February 5, 2016 (Docket Number 259), the Debtor and the Official Committee of Unsecured Creditors
have made the necessary technical corrections and clarifications in the Substituted First Amended Joint Plan
of Liquidation.

        (2) As required by Rule 3019(a) of the Federal Rules of Bankruptcy Procedure, the Substituted First
Amended Joint Plan of Liquidation has no adverse effect on any party in interest and therefore is deemed
accepted by all creditors that accepted the original Joint Plan of Liquidation, dated November 5, 2015
(Docket Number 181).

       (3) The requirements of 11 U.S.C. section 1129(a) have been satisfied with the exception of
paragraph 8 as it relates to Class 4 and, with respect to that requirement and that class, 11 U.S.C. section
1129(b)(2)(C)(ii) applies.

        Accordingly, the Court hereby Orders that:

       (1) The Substituted First Amended Joint Plan of Liquidation is confirmed. All parties in interest shall
govern themselves according to the terms of the confirmed plan and, where applicable, shall act in
accordance with the deadlines in the confirmed plan.

       (2) The Debtor shall not receive a discharge of debts in this case because all three subparagraphs of
11 U.S.C. section 1141(d)(3) apply.

          (3) The Debtor shall serve a copy of the confirmed plan and this order on all parties in interest
(except those parties who are represented by attorneys who receive notice of electronic filing) and shall file a
certificate of service by February 22, 2016.

        (4) Service of this order on all parties in interest and on the United States Trustee shall satisfy Rule
2002(f)(7) and (k) and Rule 3020(c)(2) and (3) of the Federal Rules of Bankruptcy Procedure.


                                                                           /s/ Lee M. Jackwig
                                                                           Lee M. Jackwig
                                                                           U.S. Bankruptcy Judge




Parties Receiving this Order from the Clerk of Court:
Electronic Filers
